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 1   Beth A. Wilkinson (admitted pro hac vice)
     Brian L. Stekloff (admitted pro hac vice)
 2   Rakesh N. Kilaru (admitted pro hac vice)
     Jeremy S. Barber (admitted pro hac vice)
 3   WILKINSON STEKLOFF LLP
     2001 M Street NW, 10th Floor
 4   Washington, DC 20036
     Telephone: (202) 847-4000
 5   Facsimile: (202) 847-4005
     bwilkinson@wilkinsonstekloff.com
 6   bstekloff@wilkinsonstekloff.com
     rkilaru@wilkinsonstekloff.com
 7   jbarber@wilkinsonstekloff.com
 8   Gregg H. Levy (admitted pro hac vice)
     Derek Ludwin (admitted pro hac vice)
 9   John S. Playforth (admitted pro hac vice)
     COVINGTON & BURLING LLP
10   One CityCenter, 850 10th Street NW
     Washington, D.C. 20001
11   Telephone: (202) 662-6000
     Facsimile: (202) 778-5429
12   glevy@cov.com
     dludwin@cov.com
13   jplayforth@cov.com
14   Counsel for Defendants National Football
     League, NFL Enterprises LLC, and the
15   Individual NFL Clubs
16
                                   UNITED STATES DISTRICT COURT
17
                                CENTRAL DISTRICT OF CALIFORNIA
18

19     IN RE: NATIONAL FOOTBALL                       Case No. 2:15-ml-02668−PSG (SKx)
20
       LEAGUE’S “SUNDAY TICKET”                       DEFENDANTS’ REPLY IN
       ANTITRUST LITIGATION                           SUPPORT OF MOTION IN
21     ______________________________                 LIMINE NO. 5 TO EXCLUDE
                                                      CERTAIN OPINIONS OF DANIEL
22                                                    A. RASCHER
       THIS DOCUMENT RELATES TO:
23                                                    Judge: Hon. Philip S. Gutierrez
       ALL ACTIONS
24
                                                      Date: May 17, 2024
                                                      Time: 2:30 p.m.
25                                                    Courtroom: First Street Courthouse
26                                                               350 West 1st Street
                                                                 Courtroom 6A
27                                                               Los Angeles, CA 90012
28
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 1           The recently revised Rule 702 squarely places the burden on the proponent of
 2   expert testimony to prove that the expert’s opinion “reflects a reliable application of
 3   the principles and methods to the facts of the case.” Fed. R. Evid. 702. Plaintiffs’
 4   opposition brief, ECF No. 1206-1, Pls.’ Mem. Supp. Opp. Defs.’ Motion in Limine
 5   No. 5 (“Opp.”), fails to satisfy that newly emphasized burden as to Dr. Rascher’s
 6   opinions regarding (i) the but-for world absent the challenged horizontal conduct,
 7   (ii) damages calculations, and (iii) the commercial class. These opinions accordingly
 8   should be excluded under Rules 103, 104, and 702.
 9
     I.      Plaintiffs Have Not Satisfied Rule 702 With Respect To Dr. Rascher’s
10           Opinions Regarding The But-For World Absent The Challenged
             Horizontal Conduct.
11

12           Defendants showed in their opening motion that Dr. Rascher’s use of college

13   football as the “yardstick” is not a reliable application of that methodology for three

14   distinct and independently fatal reasons. Nothing in Plaintiffs’ opposition brief

15   overcomes this failure to meet their Rule 702 burden.

16           A.        Dr. Rascher’s yardstick does not address what would occur in a
                       world absent joint telecast licensing.
17

18
             To be admissible, Dr. Rascher’s yardstick must “compare[] the outcome of

19
     interest in the affected market”—where “

20
                                                  , ECF No. 962-4, Expert Report of Daniel

21
     A. Rascher, dated February 17, 2023 (“Rep.”) ¶ 54—“to the same outcome in an

22
     unaffected benchmark market.” In re Nat’l Football League’s Sunday Ticket

23
     Antitrust Litig., 2023 WL 1813530, at *8, n.1 (C.D. Cal. Feb. 7, 2023). The NFL

24
     Defendants explained that Dr. Rascher’s yardstick of

25
                                                                            Rep. ¶ 325 n.436, is not

26
     an “unaffected benchmark market” because

27

28
                     id. ¶ 54.

                                                  1
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 1           Plaintiffs’ response only reinforces that Dr. Rascher cannot identify a
 2   benchmark market in which the members of a sports league license telecasting rights
 3   separately. Plaintiffs note that there are some situations in which non-league college
 4   football games are not licensed by a league (in college, the conferences), citing the
 5   examples of independent football teams and inter-conference games. Opp. at 3–4.
 6   The licensing of non-league games, however, cannot be a valid benchmark for the
 7   licensing of NFL games for multiple reasons.
 8           First, as Dr. Rascher acknowledges, the output of a league like the NFL is a
 9   different product with different economics than the output of independently
10   negotiated bilateral games. Professional sports leagues play critical roles in the
11   creation of seasons of competition, and Dr. Rascher recognizes that
12

13

14                              Rep. ¶ 37. How such one-off games are licensed is thus not a valid
15   benchmark for how a season of league play would be licensed.
16           Second, reliance on the licensing of non-league games ignores a critical
17   economic difference: A non-league game can be licensed without the participation or
18   consent of any league. By contrast, as Dr. Rascher has conceded,
19

20                                              See ECF. No. 962-13, Rascher 6/28/23 Dep. Tr.
21   70:13–22; 180:2–7. As a result, situations in which non-league games are licensed
22   without league involvement cannot be a benchmark for how league games would be
23   licensed.
24           Plaintiffs also claim that “whether the teams or the conferences sell the rights
25   is irrelevant,” since Dr. Rascher asserts
26                                                                             .” Opp. at 4. “The test for
27   reliability, however, is not the correctness of the expert’s conclusions but the
28

                                                        2
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 1   soundness of his methodology.” Colibri Heart Valve LLC v. Medtronic CoreValve
 2   LLC, 2021 WL 7285995, at *3 (C.D. Cal. Nov. 16, 2021) (cleaned up).
 3           For this reason, identifying a yardstick that “compares the outcome of interest
 4   in the affected market to the same outcome in an unaffected benchmark market” is
 5   absolutely necessary to the Rule 702 inquiry. Sunday Ticket, 2023 WL 1813530, at
 6   *8 n.1. Yet Dr. Rascher has not identified any such yardstick, as he has not identified
 7   any benchmark for how league sports competition is telecast in the absence of joint
 8   licensing. Rather, as Plaintiffs admit, their only purported benchmark involves
 9   contests that “are not ‘league’ games.” Opp. at 3. Plaintiffs’ claim that Dr. Rascher’s
10   yardstick should be admissible because they believe its results are plausible is simply
11   not a valid defense of the admissibility of his testimony under Rule 702.
12           Without an appropriate benchmark market, Plaintiffs cannot satisfy the
13   requirements of the revised Rule 702 to show that their expert has reliably applied
14   the yardstick methodology to the facts of this case. See Sunday Ticket, 2023 WL
15   1813530, at *8 n.1; In re Wholesale Grocery Prod. Antitrust Litig., 946 F.3d 995,
16   1001–02 (8th Cir. 2019) (even though “[expert’s] qualifications were not questioned
17   and benchmarking is a recognized tool for proving antitrust injury,” district court did
18   not abuse its discretion when it excluded expert testimony that “attempt[ed] to
19   demonstrate a relationship between [the unaffected benchmark market] and [affected
20   market]” and did not reliably apply the chosen benchmark to the facts of the case).
21           B.        Dr. Rascher’s but-for world assumes legally impermissible
22                     outcomes.

23           Dr. Rascher presumes as part of his but-for worlds absent the challenged
24   horizontal conduct that individual teams could act alone to license telecast rights,
25   presenting—for example—but-for worlds in which
26                               ECF No. 962-4, Rep. ¶ 367; see also, e.g., id. ¶¶ 54, 112, 117,
27   273, 353, 370, 374–75; ECF No. 962-5, Expert Reply Report of Daniel A. Rascher,
28   dated June 9, 2023 (“Reply Rep.”) ¶¶ 46, 90, 92, 319, 321, 382, 392–95, 399. But
                                                        3
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 1   removing the challenged horizontal conduct does not mean that individual teams
 2   obtain unilateral rights to license telecasts. Instead, as both Plaintiffs and Dr. Rascher
 3   concede, the consent of at least two teams and the NFL is required to telecast any
 4   game. See ECF No. 1120-1, Defs.’ Mot. in Limine No. 5 (“Mot.”) at 5. Thus, as
 5   Defendants have explained, see id. at 4–6, allowing Dr. Rascher’s testimony based
 6   on the presumption that teams could license telecasting rights unilaterally violates
 7   the rule that “a party is not entitled to present evidence on an erroneous or
 8   inapplicable legal theory to the jury.” Nationwide Transp. Fin. v. Cass Info. Sys., Inc.,
 9   523 F.3d 1051, 1063 (9th Cir. 2008).
10           Plaintiffs’ response proves the NFL Defendants’ point. Plaintiffs assert that it
11   is possible to license telecasts “through contract or consent,” and cite examples such
12   as college football, historical NFL practices, and preseason games, Opp. at 6–7,
13   which exist only through such agreements. Indeed, Plaintiffs concede that the
14   telecasts on which they rely as examples exist only by agreement among multiple
15   parties because “all these other parties have certain intellectual property, such as team
16   logos, that appears in each such broadcast.” Id. This response confirms, rather than
17   refutes, that no individual club can obtain the rights necessary to license a telecast
18   unilaterally without an agreement between at least two teams and the NFL. See ECF
19   No. 962-13, Rascher 6/28/23 Dep. Tr. 178:22–180:18.
20           Tellingly, Dr. Rascher has never identified how these necessary agreements
21   would be reached, or how his but-for world would increase competition. For
22   example, Plaintiffs complain that in the real world, the consent of the NFL is
23   necessary to license telecasts because it is the sole licensor. But Dr. Rascher concedes
24   that in the but-for world,
25                                                           . ECF No. 962-13, Rascher 6/28/23
26   Dep. Tr. 178:22–180:18. He never attempts to explain how these consents would be
27   provided, or how more competition could arise from requiring consent from more
28   licensors in the but-for world compared to fewer in the real world.
                                                  4
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 1           Instead, he simply assumes away this critical problem. Plaintiffs do not—and
 2   cannot—deny that Dr. Rascher presumes that in his but-for worlds
 3

 4                                                        ” Rep. ¶ 367. Because Plaintiffs admit
 5   that any telecast licensing arrangement in the but-for world would require an
 6   agreement between two or more entities, Dr. Rascher should not be permitted to
 7   testify based on his presumption to the contrary.
 8           C.        Dr. Rascher failed to account for the protections afforded by the
                       Sports Broadcasting Act when applying his methodology.
 9

10           Plaintiffs’ opposition also fails to demonstrate that Dr. Rascher’s yardstick
11   analysis accounts for the NFL’s SBA-protected rights. See In re Live Concert
12   Antitrust Litig., 863 F. Supp. 2d 966, 974–76 (C.D. Cal. 2012).
13           Plaintiffs do not dispute the conclusion—reached by two of their experts—that
14   the NFL would
15                                                                                                                  .
16   ECF No. 962-29, Expert Rebuttal Report of Einer Elhauge, dated June 9, 2023
17   (“Elhauge Rep.”) ¶ 55; Reply Rep. ¶ 430
18                                                               ; accord ECF No. 962-13, Rascher
19   6/28/23 Dep. Tr. 84:16-85:1, 182:11–12. At minimum, these concessions should bar
20   Dr. Rascher from offering any version of the but-for world in which the NFL does
21   not enter into SBA-protected CBS and FOX agreements.
22           But these concessions also demonstrate that Plaintiffs cannot satisfy the
23   requirements of the revised Rule 702 to demonstrate the reliability of Dr. Rascher’s
24   but-for world more generally. Dr. Rascher conceded that
25

26                           Rep. ¶ 306. Undisputedly, NFL football involves SBA-protected
27   agreements, while college football does not. Yet Plaintiffs fail to identify any attempt
28   by Dr. Rascher to incorporate such controls in comparing them.
                                                     5
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 1           Instead, Plaintiffs cite only an unsupported assertion from Dr. Rascher that the
 2   different incentives that arise from the SBA’s protection do not matter. Opp. at 8–9.
 3   That ipse dixit cannot satisfy Plaintiffs’ burden to demonstrate admissibility. See
 4   Gen. Elec. Co. v. Joiner, 522 U.S. 136, 146 (1997). Neither can Plaintiffs’ assertion
 5   that Dr. Rascher considered the question “in [his] prior report,” Opp. at 9 (quoting
 6   Reply Rep. ¶ 416), as that prior report mentions the SBA in only two paragraphs of
 7   the analytical sections of his report, and in neither case did Dr. Rascher attempt—as
 8   required for reliability—to control for the effect that statute would have on the NFL’s
 9   but-for incentives. See Rep. ¶¶ 202, 286.
10           Ultimately, Plaintiffs admit that the SBA will have significant impacts on the
11   NFL’s incentives for licensing NFL telecasts in the but-for world. See, e.g., Reply
12   Rep. ¶ 430. They admit that those incentives do not apply to the college conferences
13   at the heart of their yardstick approach. And they fail to identify any actual, economic
14   analysis from Dr. Rascher that controls for this critical “
15                                             ” Rep. ¶ 306. This failure leaves them unable
16   to satisfy the requirements of the revised Rule 702, which places on them the burden
17   to prove that Dr. Rascher reliably applied his methodology.
18   II.     Plaintiffs Have Not Satisfied Rule 702 With Respect To Dr. Rascher’s
19           Opinions Regarding Damages.

20           Plaintiffs’ opposition fails to justify either of Dr. Rascher’s damages
21   calculations. Most egregiously, Plaintiffs’ own authority confirms that it was
22   inappropriate for Dr. Rascher to rely on Dr. Zona’s calculations without
23   independently verifying the reliability of those analyses. See Opp. at 10. In ConAgra,
24   the court excluded an expert’s asserted reliance on surveys conducted by others
25   where “there [wa]s no indication in his declaration that he ha[d] independently tested
26   or evaluated the results of the surveys.” In re ConAgra Foods, Inc., 302 F.R.D. 537,
27   556 (C.D. Cal. 2014); see also id. (collecting authority); Mot. at 8 (citing additional
28   authority).
                                                  6
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 1           Plaintiffs assert, without evidence, that Dr. Rascher in fact “independently
 2   reviewed Dr. Zona’s method and conclusions.” Opp. at 10. But in the sole paragraph
 3   from his report that Plaintiffs rely on as proof, Dr. Rascher does not engage in any
 4   “independent review.” Instead, he simply repeats Dr. Zona’s conclusions before
 5                                                                             . See Rep. ¶ 406 (cited
 6   at Opp. at 10); see also Victory Dollar Inc. v. Travelers Cas. Ins. Co. of Am., 2023
 7   WL 9003011, at *4 (C.D. Cal. Dec. 7, 2023) (excluding expert who “offer[ed]
 8   virtually no justification for the methodology he used to reach his alternative
 9   calculation,” recognizing that “[a] jury does not need help with simple mathematics
10   as to which there is no dispute.” (citation and internal quotation marks omitted)). Dr.
11   Rascher’s failure to independently analyze Dr. Zona’s models leaves him unable to
12   testify reliably to damages calculations based on those models.
13           Moreover, Plaintiffs cannot deny that Dr. Rascher did not analyze Dr. Zona’s
14   critical assumption that the NFL would rely on a fixed licensing fee—rather than a
15   per-subscriber fee—in the but-for world. Their brief footnote on this point does not
16   cite any analysis from Dr. Rascher on this issue. Opp. at 10 n.2. Nor do they offer
17   any justification for the fact that Dr. Rascher relied on Dr. Zona’s results to calculate
18   damages for the No-Exclusivity But-For World, even though Dr. Zona testified that
19   he did not know whether his models were appropriate for that scenario. See ECF
20   No. 1153-7, Zona 6/23/23 Dep. Tr. 288:15–289:17. Thus, any of Dr. Rascher’s
21   damages calculations that are based on Dr. Zona’s models should be excluded.
22   III.    Plaintiffs Have Not Satisfied Rule 702 With Respect To Dr. Rascher’s
23           Opinions On The Commercial Class.

24           Dr. Rascher asserts
25

26            Opp. at 10–11 (citing Rep. ¶¶ 150–52; Reply Rep. ¶¶ 11, 265, 410.) None of
27   the paragraphs from Dr. Rascher’s opening report discusses damages issues at all. Of
28   the three paragraphs cited in Dr. Rascher’s reply report, one mentions in passing
                                                  7
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 1   commercial customers’ subscription options in the post-damages period, see Reply
 2   Rep. ¶ 265, and the other two contain conclusory statements that Dr. Rascher’s
 3   damages analysis “
 4

 5

 6             id. ¶ 410; see also id. ¶ 11 (similar statement from the report’s introduction).
 7           Dr. Rascher’s conclusory assertion that his analysis should                                           ”
 8                                       contains none of the analysis that would be necessary to
 9   support a billion-dollar damages claim under the revisions to Rule 702. It does not
10   address the distinctions raised by Defendants regarding the different costs associated
11   with supplying Sunday Ticket to commercial establishments, the different reasons
12   for purchasing the product, the different prices of the product, and the different
13   pricing structure of the product. See Mot. at 9–10.
14           For example, Dr. Rascher’s assumption that his analysis
15   ignores the specific marketing support and free promotional materials that
16   commercial subscribers—but not residential subscribers—obtained from DirecTV as
17   a result of the incentives that DirecTV had to promote Sunday Ticket as the exclusive
18   distributor of that product. See ECF No. 962-10, Expert Report of B. Douglas
19   Bernheim ¶¶ 64, 541–44. Dr. Rascher makes no effort to analyze whether the same
20   commercial support would have been available in the absence of the challenged
21   conduct. Similarly, Dr. Rascher ignores the fact that commercial subscribers
22   typically demand a bundle of all out-of-market telecasts, rather than single team-
23   packages. See id. ¶ 564; see also ECF No. 1153-4, Rascher 10/3/22 Dep. Tr. 70:5–
24   15. In the absence of any analysis of these important differences in the product
25   demanded by commercial versus consumer subscribers, Plaintiffs cannot satisfy their
26   burden under the revised Rule 702 to “demonstrate[] to the court” that Dr. Rascher’s
27   damages analysis “reflects a reliable application of the principles and methods to the
28   facts of the case.”
                                                        8
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  1           Plaintiffs cannot cite even a single case in which a court has permitted an
  2   expert to submit such a substantial damages claim to a jury supported by nothing
  3   more than conclusory assertions. This Court should not be the first.
  4

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  1   Dated: February 9, 2024            Respectfully submitted,
  2                                      /s/ Beth A. Wilkinson
  3                                      Beth A. Wilkinson (admitted pro hac vice)
                                         Rakesh N. Kilaru (admitted pro hac vice)
  4                                      Brian L. Stekloff (admitted pro hac vice)
                                         Jeremy S. Barber (admitted pro hac vice)
  5                                      Max J. Warren (admitted pro hac vice)
                                         WILKINSON STEKLOFF LLP
  6
                                         2001 M Street NW, 10th Floor
  7                                      Washington, DC 20036
                                         Telephone: (202) 847-4000
  8                                      Facsimile: (202) 847-4005
                                         bwilkinson@wilkinsonstekloff.com
  9                                      rkilaru@wilkinsonstekloff.com
 10
                                         bstekloff@wilkinsonstekloff.com
                                         jbarber@wilkinsonstekloff.com
 11                                      mwarren@wilkinsonstekloff.com
 12                                      Neema T. Sahni (Bar No. 274240)
                                         COVINGTON & BURLING LLP
 13
                                         1999 Avenue of the Stars
 14                                      Suite 1500
                                         Los Angeles, CA 90067-6045
 15                                      Telephone: (424) 332-4800
                                         Facsimile: (424) 332-4749
 16                                      nsahni@cov.com
 17
                                         Gregg H. Levy (admitted pro hac vice)
 18                                      Derek Ludwin (admitted pro hac vice)
                                         John S. Playforth (admitted pro hac vice)
 19                                      COVINGTON & BURLING LLP
                                         One CityCenter
 20
                                         850 Tenth Street NW
 21                                      Washington, DC 20001
                                         Telephone: (202) 662-6000
 22                                      Facsimile: (202) 662-6291
                                         glevy@cov.com
 23                                      dludwin@cov.com
 24                                      jplayforth@cov.com

 25                                      Counsel for Defendants National Football
                                         League, NFL Enterprises LLC, and the
 26                                      Individual NFL Clubs
 27

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